              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:02-cr-00105-MR-4


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
              vs.               )               ORDER
                                )
MICHAEL ANTHONY JENKINS,        )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s pro se letter,

which the Court construes as a motion for clarification [Doc. 590].

     On December 2, 2002, the Defendant was charged in a Bill of

Indictment with engaging in a conspiracy to possess with intent to distribute

cocaine. [Doc. 3]. The conspiracy was alleged to have occurred from

January 2001 through December 2002. [Id.]. Additionally, the Defendant

was charged with possessing a firearm during and in relation to a drug

trafficking crime. [Id.]. That offense conduct was alleged to have occurred

on or about October 21, 2001, during the course of the conspiracy. [Id.]. The

Defendant pleaded guilty to both counts pursuant to a written plea agreement

in February 2003. [Doc. 139]. He was sentenced to a total term of 292

months’ imprisonment [Doc. 292], and his conviction and sentence were


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affirmed on appeal. United States v. Jenkins, 159 F. App’x 496 (4th Cir.

2005). The Defendant filed two post-conviction motions to vacate pursuant

to 28 U.S.C. § 2255 [Docs. 358, 552], both of which were dismissed. [Docs.

372, 561].

      The Defendant now seeks clarification as to whether he is currently

serving time for a conspiracy conviction based on an indictment from 2001,

which the Defendant claims does not exist, or an indictment from 2002, on

which the Defendant claims he was never arraigned. [See Doc. 590 at 1

(“Am I sitting and doing this time for the conspiracy indictment that I was

suppose to of got [sic] in 2001 that doesn’t exist or am I here on the 2002

indictment that I never went in front of a Judge for?”)].

      In his letter, the Defendant appears to challenge the validity of his

conviction. The Defendant, however, already has sought direct review of his

conviction, as well as post-conviction relief pursuant to 28 U.S.C. § 2255. To

the extent that the Defendant seeks to challenge the validity of his conviction,

his motion must be dismissed as a successive § 2255 petition. See 28

U.S.C. § 2255(h).

      In any event, the Defendant’s challenge is without merit. The record

reveals that the Defendant was charged in only one indictment, that he

pleaded guilty to the charges to that indictment, and that he is currently


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serving a sentence based upon his conviction. The Defendant’s contention

that he was never prosecuted on the 2002 indictment is simply specious.

     IT IS, THEREFORE, ORDERED that the Defendant’s pro se letter,

which the Court construes as a motion for clarification [Doc. 590], is DENIED

AS MOOT.

     IT IS SO ORDERED.          Signed: September 26, 2015




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